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                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Case No: C-18-2966-JD
Case Name: Yates v. East Side Union High School District

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:                DEFENSE ATTORNEY:
 Hon. James Donato                        Teresa Li                            Mark E. Davis
                                          Daniel Balaban                       Adam J. Davis
 TRIAL HEARING DATE:                      REPORTER(S):                         CLERK:
 April 6, 2022                            Marla Knox                           Lisa Clark

 PLF DEF TIME
 NO. NO. OFFERED               ID REC DESCRIPTION                                                          BY
         9:14 am                      Court in session; all parties and jury present.
                                            Defendant calls Nancy Pereira – direct examination.
                                            Witness shown exhibit 5.
        6                      X    X       Nancy Pereira Note                                             LRC
        9                      X    X       Nancy Pereira’s follow up note                                 LRC
               9:40 am                      Cross-examination of Nancy Pereira.
                                            Witness shown exhibit 5, 23.
               9:59 am                      Re-direct of Nancy Pereira.
               10:02 am                     Court questions witness.
               10:04 am                     Defendant calls Steve Sellers – direct-examination
                                            Witness shown exhibit 7, 8
               10:22 am                     Cross-examination of Steve Sellers.
                                            Witness shown exhibit 7, 8,
               10:32 am                     Re-direct of Steve Sellers.
               10:34 am                     Court in recess.
               10:55 am                     Court in session; all parties and jury present.
                                            Defendant calls Janelle Jones -- direct examination.
               11:05 am                     Cross-examination of Janelle Jones.
               11:10 am                     Defendant rests.
                                            Court advises the jury regarding the remainder of the trial.
               11:12 am                     Court in recess.
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PLF DEF TIME
NO. NO. OFFERED    ID REC DESCRIPTION                                    BY




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